                          Case 1:23-mi-99999-UNA Document 124-19 Filed 01/13/23 Page 1 of 2
JS44 (Rev.  NDGA)                        CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         PerDiemCo LLC                                                                           NexTraq LLC




   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF                    Texas                                                    DEFENDANT         Forsyth
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)

         Meredith Martin Addy, Charles A. Pannell, ADDYHART
         P.C., 10 Glenlake Parkway, Suite 130, Atlanta, GA
         30328, 312.320.4200, meredith@addyhart.com;
         cpannell@addyhart.com; Benjamin Cappel, 401
         Michigan Ave., Chicago IL , benjamin@addyhart.com

II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT             3 FEDERAL QUESTION                             1        1 CITIZEN OF THIS STATE
                                                                                                                          ✔ 4           4   INCORPORATED OR PRINCIPAL
     PLAINTIFF                     (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE
                              ✔ 4 DIVERSITY                                                                                         ✔
   2 U.S. GOVERNMENT                                                            2        2   CITIZEN OF ANOTHER STATE          5        5   INCORPORATED AND PRINCIPAL
     DEFENDANT                    (INDICATE CITIZENSHIP OF PARTIES                                                                          PLACE OF BUSINESS IN ANOTHER STATE
                                   IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6         6   FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
   ✔ 1 ORIGINAL            2 REMOVED FROM           3 REMANDED FROM            4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
         PROCEEDING          STATE COURT             APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)

        35 U.S.C. § 271 Infringement of Patent




(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                        6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
        3. Factual issues are exceptionally complex                                  8. Multiple use of experts.
        4. Greater than normal volume of evidence.                                   9. Need for discovery outside United States boundaries.
        5. Extended discovery period is needed.                                     10. Existence of highly technical issues and proof.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                         MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
            Case 1:23-mi-99999-UNA Document 124-19 Filed 01/13/23 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK            CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                         SOCIAL SECURITY - "0" MONTHS DISCOVERY
       150 RECOVERY OF OVERPAYMENT &                     440 OTHER CIVIL RIGHTS                                    TRACK
            ENFORCEMENT OF JUDGMENT                      441 VOTING                                                      861 HIA (1395ff)
       152 RECOVERY OF DEFAULTED STUDENT                 442 EMPLOYMENT                                                  862 BLACK LUNG (923)
           LOANS (Excl. Veterans)                        443 HOUSING/ ACCOMMODATIONS                                     863 DIWC (405(g))
       153 RECOVERY OF OVERPAYMENT OF                    445 AMERICANS with DISABILITIES - Employment                   863 DIWW (405(g))
           VETERAN'S BENEFITS                            446 AMERICANS with DISABILITIES - Other                         864 SSID TITLE XVI
                                                         448 EDUCATION                                                   865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
       110 INSURANCE                                                                                               FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
       120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK                          TRACK
       130 MILLER ACT                                    462 NATURALIZATION APPLICATION                                  870 TAXES (U.S. Plaintiff or Defendant)
       140 NEGOTIABLE INSTRUMENT                         465 OTHER IMMIGRATION ACTIONS                                   871 IRS - THIRD PARTY 26 USC 7609
       151 MEDICARE ACT
       160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY                         OTHER STATUTES - "4" MONTHS DISCOVERY
       190 OTHER CONTRACT                        TRACK                                                             TRACK
       195 CONTRACT PRODUCT LIABILITY                    463 HABEAS CORPUS- Alien Detainee                               375 FALSE CLAIMS ACT
       196 FRANCHISE                                     510 MOTIONS TO VACATE SENTENCE                                  376 Qui Tam 31 USC 3729(a)
                                                         530 HABEAS CORPUS                                               400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                     535 HABEAS CORPUS DEATH PENALTY                                 430 BANKS AND BANKING
TRACK                                                    540 MANDAMUS & OTHER                                            450 COMMERCE/ICC RATES/ETC.
       210 LAND CONDEMNATION                             550 CIVIL RIGHTS - Filed Pro se                                 460 DEPORTATION
       220 FORECLOSURE                                   555 PRISON CONDITION(S) - Filed Pro se                          470 RACKETEER INFLUENCED AND CORRUPT
       230 RENT LEASE & EJECTMENT                        560 CIVIL DETAINEE: CONDITIONS OF                                    ORGANIZATIONS
       240 TORTS TO LAND                                     CONFINEMENT                                                 480 CONSUMER CREDIT
       245 TORT PRODUCT LIABILITY                                                                                        7(/(3+21(&21680(53527(&7,21$&7
       290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                               490 CABLE/SATELLITE TV
                                                 TRACK                                                                   890 OTHER STATUTORY ACTIONS
TORTS - PERSONAL INJURY - "4" MONTHS                     550 CIVIL RIGHTS - Filed by Counsel                             891 AGRICULTURAL ACTS
DISCOVERY TRACK                                          555 PRISON CONDITION(S) - Filed by Counsel                      893 ENVIRONMENTAL MATTERS
       310 AIRPLANE                                                                                                      895 FREEDOM OF INFORMATION ACT899
       315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                               $DMINISTRATIVE PROCEDURES ACT /
       320 ASSAULT, LIBEL & SLANDER              TRACK                                                                      5(9,(:25$33($/2)$*(1&<'(&,6,21
       330 FEDERAL EMPLOYERS' LIABILITY                  625 DRUG RELATED SEIZURE OF PROPERTY                            950 CONSTITUTIONALITY OF STATE STATUTES
       340 MARINE                                             21 USC 881
       345 MARINE PRODUCT LIABILITY                      690 OTHER
                                                                                                                   OTHER STATUTES - "8" MONTHS DISCOVERY
       350 MOTOR VEHICLE
                                                                                                                   TRACK
       355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
       360 OTHER PERSONAL INJURY                         710 FAIR LABOR STANDARDS ACT                                    410 ANTITRUST
       362 PERSONAL INJURY - MEDICAL                     720 LABOR/MGMT. RELATIONS                                       850 SECURITIES / COMMODITIES / EXCHANGE
           MALPRACTICE                                   740 RAILWAY LABOR ACT
       365 PERSONAL INJURY - PRODUCT LIABILITY           751 FAMILY and MEDICAL LEAVE ACT                          OTHER STATUTES - “0" MONTHS DISCOVERY
       367 PERSONAL INJURY - HEALTH CARE/                790 OTHER LABOR LITIGATION                                TRACK
            PHARMACEUTICAL PRODUCT LIABILITY             791 EMPL. RET. INC. SECURITY ACT                                896 ARBITRATION
       368 ASBESTOS PERSONAL INJURY PRODUCT                                                                                  (Confirm / Vacate / Order / Modify)
            LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                 TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                   820 COPYRIGHTS
DISCOVERY TRACK                                          840 TRADEMARK                                               PLEASE NOTE DISCOVERY
       370 OTHER FRAUD                                   '()(1'75$'(6(&5(76$&72) '76$
       371 TRUTH IN LENDING                                                                                          75$&.)25($&+&$6(
       380 OTHER PERSONAL PROPERTY DAMAGE
       385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                 PROPERTY RIGHTS - "8" MONTHS DISCOVERY                             7<3(6((/2&$/58/(
                                                 TRACK
                                                     ✔   830 PATENT
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK
       422 APPEAL 28 USC 158                             83 PATENT$%%5(9,$7('1(:'58*
                                                             $33/,&$7,216 $1'$ DND
       423 WITHDRAWAL 28 USC 157
                                                             +DWFK:D[PDQFDVHV




VII. REQUESTED IN COMPLAINT:
      CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23             DEMAND $_____________________________
JURY DEMAND         ✔   YES    NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
       JUDGE_______________________________                             DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
       1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
          BANKRUPTCY JUDGE.
       5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
       6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




       7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                                   , WHICH WAS
          DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




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 SIGNATURE OF ATTORNEY OF RECORD                                                                  DATE
